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_' iAo 2455 (cnsnuev. 08/14)Judgmentinaretty cl-iminalcase ' m
‘ MAY 1 0 2018
UNITED STATES DISTRICT COURr m
SOUTHERN DISTRICT OF CALIFORNIA C' \'-'~ =~"~K US DlS“-H'l?' CC'UB*

SOUTHE.HN Di£:» `l`R|C'l Or' CAL¢P' DFi A

 

 

 

 

 

 

 

lJE U Y
UNITED STATES ()F AMER]CA JUDGI\IENT IN A CRI.
` V_ (For Offenses Committed 011 or After November l, 1987)
OBENIEL VASQUEZ-LOPEZ -
Aka Obeniel Vazquez-Lopez Case Nmnber: 18€M359“RBB
' scoTT PAcToR, cJA _.._,._.
Defendnnt’s Attomey §S'”f‘“ ij §
REGISTRATION No. 68841298 1 § -»;i.l..,,. \ _
|:|- _ ` , - . . ~““'“--~»~-»~--__`v._._\
'I`he Defendant: ` - ` 7 MAY 1 8 ZUlS
pleaded guilty to counts _ ONE OF THE n~IFORMATION Cr-~iM--~W~__)..:»`Mjnl.m._h.
SOE_H t n w .'?1::`-1 " "i`t' ‘- (;'- l:-r;H\
l:l Was found guilty on count(s) .W'w,,m.,, _…_,,_ m C n _“_" _ HL:.EO}§RUA¥¢
after a plea of not guiltv. ` ' "' ' ‘
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
. ' ` ' - Count
Title & Section Nature of Offgnse Nurnber(s)
8 USC 1325 IMPROPER ENTRY BY-AN ALIEN ' _ 1

The defendant is sentenced as provided in pages Z_through ' 2 ' of this judgment

[:I The defendant has been found not guilty on count(s)

 

lZl Count(s) COMPLAINT 7 is ' dismissed on the motion of the'United States.

Assessment: $ 10.00 REMITTED/WAIVED

Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013`15
waived and remitted as uncollectible

K(

>!4 No fine |;l Forfeiture pursuant to order filed , included herein
lT IS ORDERED that the defendant shall notify the United Ststes Attorney for this district within 30 days of any
1 change of name, residence-, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change m the defendant’s economic circumstances

 

 

 

Mav lO. 2018 7
v . Date f Imposition of Sentence

1 have executed within ’ll m 5 5@@ d@> _ /
udgament and Commitment on §~Z 13 H§ `
J` _ HON.- RUBEN B. BROOKS

U"“¢d pfng MB'BH§' UNITED sTATEs MAGISTRATE JUDGE
By`:

USMS Crlmtnal auction

18CR2359-RBB

 

 

 

 

f- ,_ ' `n

Case 3:18-Cr-02359-RBB Document 11 Filed 05/18/18 Page|D.lB` Page 2 of 2

jj ) AO 245B (CASD Rev. 08/14) Judgment in a Petty Crirninal Case

 

I)EFENDANT: OBENIEL VASQUEZ-LOPBZ ` _ Judgmcnt - Page,?, of 2,,
CASE NUMBER: lSCR23 5 9-RBB ' '

IMPRISONMEN'I`

The defendant` ls hereby committed to the custody of the United States Bureau ofPrisons to be imprisoned for a term oft
TIME SERVED.

lj|:l

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal. 7 -

The defendant'shall surrender to the United States Marshal for this district:
l'_“| ' at A.M. 011
l'.f| as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

E on or before
l:l as notified by the United Statcs Marshal.
|I| as notified by the.Probation or Pr`etrial Sei'vices Officc. t

RETURN

I-have executed this judgment as follows:

at

Defendant delivered on to

 

, With a certified copy of this judgment

 

UNITED STATES MARSHAL

 

BY DEPUTY UNITED sTATES MARSHAL-

18CR2359-RBB

 

 

